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                   9
                  10                           UNITED STATES DISTRICT COURT
                  11                      CENTRAL DISTRICT OF CALIFORNIA
                  12                                EASTERN DIVISION
                  13 CARTER BRYANT, an individual,             CASE NO. CV 04-9049 SGL (RNBx)
                  14              Plaintiff,                   Consolidated with
                                                               Case No. CV 04-09039
                  15        vs.                                Case No. CV 05-02727
                  16 MATTEL, INC., a Delaware                  MATTEL, INC.'S NOTICE OF
                     corporation,                              MOTION AND MOTION FOR
                  17                                           RECONSIDERATION OF PORTIONS
                                  Defendant.                   OF DISCOVERY MASTER'S
                  18                                           DECEMBER 31, 2007 ORDER; AND
                  19 AND CONSOLIDATED ACTIONS                  MEMORANDUM OF POINTS AND
                                                               AUTHORITIES
                  20
                                                               [Declaration of Scott B. Kidman filed
                  21                                           concurrently]
                  22
                                                               Hearing Date:      February 8, 2008
                  23                                           Time:              9:30 a.m.
                                                               Place:             Telephonic
                  24
                                                               Phase 1
                  25                                           Discovery Cut-off:    January 28, 2008
                                                               Pre-trial Conference: April 21, 2008
                  26                                           Trial Date:           May 27, 2008
                  27
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                       MATTEL'S MOTION FOR RECONSIDERATION OF PORTIONS OF DISCOVERY MASTER'S DECEMBER 31,
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                   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   2               PLEASE TAKE NOTICE that at a conference before Discovery Master
                   3 Hon. Edward Infante (Ret.) on February 8, 2008, at 9:30 a.m., plaintiff Mattel, Inc.
                   4 ("Mattel") will, and hereby does, move the Court to reconsider portions of the
                   5 December 31, 2007 Order Granting in Part and Denying in Part Mattel's Motion to
                   6 Compel Production of Documents by Isaac Larian; Denying Request for Sanctions.
                   7               This Motion is made pursuant to Federal Rules of Civil Procedure 26
                   8 and 54(b) and Local Rule 7-18 on the grounds that the Order limited a request
                   9 seeking communications between Isaac Larian and Mattel employees to the time
                  10 period from 1999 to 2005 on the basis that such was the time frame in which Mattel
                  11 had alleged theft of trade secrets by MGA, when in fact Mattel has specifically
                  12 alleged such theft of trade secrets in 2006, and more generally alleged such theft
                  13 through to the present.
                  14               This Motion is based on this Notice of Motion and Motion, the
                  15 accompanying Memorandum of Points and Authorities, the Declaration of Scott B.
                  16 Kidman filed concurrently herewith, and all other matters of which the Court may
                  17 take judicial notice.
                  18                           Statement of Rule 37-1 Compliance
                  19               The parties met and conferred regarding this motion on January 10,
                  20 2008 and thereafter.
                  21
                  22 DATED: January 16, 2008              QUINN EMANUEL URQUHART OLIVER &
                                                          HEDGES, LLP
                  23
                  24
                                                          By /s/ Scott B. Kidman
                  25                                        Scott B. Kidman
                                                            Attorneys for Mattel, Inc.
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                   1                   MEMORANDUM OF POINTS AND AUTHORITIES
                   2                                     Preliminary Statement
                   3                   In the December 31, 2007 Order, this Court limited production of
                   4 communications between Isaac Larian and Mattel employees to the time period
                   5 from 1999 through 2005, on the grounds that this was the sole time period during
                   6 which Mattel had alleged theft of trade secrets by MGA.
                   7                   In fact, Mattel has alleged in connection with its RICO claims that
                   8 Larian and others, from approximately 1999 through the filing of Mattel's Second
                   9 Amended Answer and Counterclaims in July 2007, have engaged in a pattern of
                  10 racketing activity for the purpose of, among other things, stealing Mattel's trade
                  11 secrets. Moreover, as reflected in supplemental interrogatory responses dated
                  12 December 7, 2007, Mattel has discovered that MGA hired a Mattel employee, Jorge
                  13 Castilla, who took trade secret documents from Mattel for MGA's benefit in March
                  14 2006. Under the Discovery Master's current limitation, communications related to
                  15 this act of theft, and others showing a pattern and practice of trade secret theft, could
                  16 be completely withheld by Larian, no matter how relevant to this case.
                  17                   By this motion, Mattel asks this Court to reconsider its prior ruling to
                  18 require production of communications between Isaac Larian and Mattel employees
                  19 from 1999 through to the present.
                  20                                      Factual Background
                  21                   On June 13, 2007, Mattel propounded its First Set of Requests for
                  22 Production of Documents and Things to Isaac Larian.1 Among other things, Mattel
                  23 included a request for all communications Isaac Larian had made with Mattel
                  24 employees. Specifically, this Request asked for, "All COMMUNICATIONS
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                  27            Declaration of Scott B. Kidman dated October 11, 2007 ("Kidman Dec.") at ¶
                       2.
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                   1 between YOU and any individual while the individual was employed by
                   2 MATTEL."2
                   3               Larian refused to provide any documents in response to this and other
                   4 Requests. During the meet and confers prior to Mattel's filing a motion to compel,
                   5 Larian did not offer any compromise by which he would agree to produce
                   6 documents responsive to this Request subject to any time period limitations.3 Mattel
                   7 moved to compel production on October 11, 2007.4
                   8               In its motion, Mattel noted that Mr. Larian's recruitment of Mattel
                   9 employees had been squarely put at issue in this case, and argued on that basis that
                  10 the Request was directly relevant to the explicit allegations underlying its claims of
                  11 trade secret theft.5 In Opposition, Larian argued that the Request was overbroad
                  12 because it was unlimited as to time or subject matter, and because it was similar to
                  13 another request Mattel propounded on MGA which was rejected by the Discovery
                  14 Master.6 Again, Larian did not provide any limitations which he believed would be
                  15 acceptable, instead urging the Discovery Master to reject the Request outright. In
                  16 Reply, Mattel noted that there was a large difference between seeking all
                  17 communications between MGA and Mattel employees, and communications
                  18 between Larian and Mattel employees, with the latter being far more narrow.7
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                  21     2
                           Request No. 198, found in the excerpts of Mattel, Inc.'s Consolidated Separate
                  22 Statement in Support of Motion to Compel Production of Documents by Isaac
                  23 Larian (public redacted version) at p. 166, Kidman Dec., Exh. 1.
                        3
                           Kidman Dec., ¶ 3.
                  24    4
                           Kidman Dec., ¶ 4.
                        5
                  25       Excerpts of Mattel, Inc.'s Consolidated Separate Statement in Support of
                     Motion to Compel Production of Documents by Isaac Larian (public redacted
                  26 version) at pp. 167-169, Kidman Dec., Exh. 1.
                        6
                  27       Id. at pp. 169-170.
                        7
                           Id. at pp. 170-171.
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                   1               This Court ruled on the motion on December 31, 2007.8 In considering
                   2 the issue of Larian's communications with Mattel employees, Judge Infante largely
                   3 granted the motion. He found that "Request No. 198 is reasonably tailored to the
                   4 specific and numerous allegations in the case regarding alleged trade secret theft."9
                   5 At the same time, however, the Discovery Master sua sponte limited the Request to
                   6 the time period of 1999 through 2005, on the basis that this was the time frame
                   7 during which Mattel had alleged trade secret theft by Larian. "Nevertheless, an
                   8 additional temporal limitation is appropriate to tailor the request to Mattel's
                   9 allegations of trade secret theft. The alleged trade secret theft began with Bryant's
                  10 conduct in 1999 and continued to 2005. Accordingly, Larian shall produce
                  11 documents responsive to Request No. 198 that are limited to the time frame 1999 to
                  12 2005."10
                  13               In fact, however, Mattel's allegations are not limited to the time period
                  14 ending in 2005. For example, in connection with its RICO claims, Mattel has
                  15 pleaded that Larian and others, from approximately 1999 through the filing of
                  16 Mattel's Second Amended Answer and Counterclaims in July 2007, have engaged in
                  17 a pattern of racketeering activity for the purpose of, among other things, stealing
                  18 Mattel's trade secrets, and that this pattern of racketeering activity "presents both a
                  19 history of criminal conduct and a distinct threat of continuing criminal activity."11
                  20               Moreover, on December 7, 2007, while the motion was pending before
                  21 the Discovery Master, Mattel served on Defendants its Supplemental Responses to
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                  23         Discovery Master's Order Granting in Part and Denying in Part Mattel's
                       Motion to Compel Production of Documents by Isaac Larian; Denying Request for
                  24   Sanctions, dated December 31, 2007, Kidman Dec., Exh. 2.
                          9
                  25         Id. at 14.
                          10
                              Id. at 14-15.
                  26      11
                              Mattel, Inc.'s Second Amended Answer in Case No. 05-2727 and
                  27   Counterclaims (Public Redacted Version; exhibits omitted), dated July 12, 2007, ¶¶
                       89-93, Kidman Dec., Exh. 3.
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                   1 MGA's First Set of Interrogatories to Mattel, Inc.12 In its supplemental response,
                   2 Mattel listed a host of instances in which MGA stole trade secrets from Mattel.
                   3 Most important for this motion, Mattel alleged that MGA hired a Mattel employee,
                   4 Jorge Castilla, who stole trade secret information and took it with him to MGA in
                   5 March 2006:13
                   6               As of Friday, March 10, 2006, Castilla had created a folder
                   7               on his network share drive that he labeled "To Take." The
                   8               folder contained approximately 56 megabytes of
                   9               information. The bulk of that information was made up of
                  10               documents containing Mattel confidential and proprietary
                  11               information. . . . Castilla had transferred the information in
                  12               the "To Take" folder and potentially the folder itself to an
                  13               e-mail account <hoclau04@gmail.com>,
                  14               <hoclau04@yahoo.com> and/or to a personal digital
                  15               assistant device. . . . To remedy their problem, MGA
                  16               targeted Castilla--and the Mattel-specific knowledge that
                  17               he possessed--and lured him to MGA. With the benefit of
                  18               the information that he brought with him, on information
                  19               and belief, Castilla has used that proprietary and
                  20               confidential information to improve MGA's sales
                  21               forecasting and inventory planning, thus saving MGA
                  22               millions and millions of dollars.14
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                  26     12
                              Kidman Dec., Exh. 4.
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                  27          Id. at pp. 38-44.
                         14
                              Id. at pp. 41-43.
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                   1                Mattel met and conferred with Isaac Larian on this issue, and directed
                   2 him to these allegations in its interrogatories. Though Mattel requested it, Larian
                   3 refused to stipulate to a modification of the Court’s Order regarding this request.15
                   4                                         Argument
                   5                The Discovery Master is empowered by the District Court to decide
                   6 matters falling within the Stipulation for Appointment of a Discovery Master, and
                   7 therefore may reconsider or modify his December 31, 2007 Order. See Smith v.
                   8 Massachusetts, 543 U.S. 462, 475 (2005) (“‘[A] district court has the inherent power
                   9 to reconsider and modify its interlocutory orders prior to the entry of judgment.’“)
                  10 (quotations omitted); see also Fed. R. Civ. P. 54(b) (“any order or other form of
                  11 decision . . . is subject to revision at any time before the entry of judgment
                  12 adjudicating all the claims and the rights and liabilities of all parties”); Local Rule 7-
                  13 18(a) (reconsideration is an appropriate remedy where there is “a material difference
                  14 in fact or law from that presented to the Court before such decision that in the
                  15 exercise of reasonable diligence could not have been known to the party moving for
                  16 reconsideration at the time of such decision.”).
                  17                Reconsideration is appropriate here because the Court sua sponte
                  18 limited Mattel's Request on an issue that had not been raised by the parties. The
                  19 Discovery Master limited Mattel’s document requests to the time period 1999
                  20 through 2005 because he understood that was the only time frame in which Mattel
                  21 had alleged theft of trade secrets. Had Mattel known the Court would take this
                  22 course, Mattel would have pointed the Court to its allegations regarding the ongoing
                  23 pattern of racketeering activity for the purpose of stealing Mattel's trade secrets.
                  24                Moreover, Mattel had not yet compiled the information relating to theft
                  25 of trade secrets that it presents here at the time of filing of its motion. Indeed, the
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                               Kidman Dec., ¶ 8.
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                   1 motion was filed on October 11, 2007, nearly two months before Mattel served its
                   2 supplemental responses. Mattel's supplemental interrogatory responses allege that
                   3 Jorge Castilla stole trade secrets from Mattel for MGA's benefit in 2006. Mattel has
                   4 set forth concrete and detailed information relating to what Mr. Castilla took, and
                   5 when he took it.
                   6               Under the Court's current limitation, Larian will be permitted to
                   7 withhold communications relevant to show a pattern and practice of trade secret
                   8 theft, which is important to establishing Mattel’s RICO claims, as well as the issue
                   9 of intent, including any communications he had with Mr. Castilla before Mr.
                  10 Castilla left Mattel for MGA in 2006. Such documents are unquestionably relevant
                  11 to Mattel's claims, especially if, for example, they demonstrate that Larian asked
                  12 Castilla that he steal trade secrets for MGA to address, for example, MGA's demand
                  13 forecasting and inventory management problems.
                  14               Moreover, Mattel's allegations in its complaint were not limited to
                  15 those acts of trade secret theft of which Mattel was aware at the time. In addition to
                  16 the RICO allegations, Mattel's complaint alleges theft of trade secrets that could
                  17 have occurred up to the present day. It stated,
                  18               In the past few years, MGA has hired directly from
                  19               Mattel's United States operations at least 25 employees,
                  20               from Senior Vice-President level to lower level
                  21               employees. On information and belief, many of these
                  22               employees were specifically targeted and recruited by
                  23               MGA, including by Larian and Brawer, based on the
                  24               Mattel confidential and proprietary information they could
                  25               access. Many of these employees had access to
                  26               information that Mattel considers to be highly proprietary
                  27               and confidential. . . . Mattel is informed and believes,
                  28               however, that certain additional employees accessed,
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                   1               copied and took from Mattel confidential and proprietary
                   2               information. . . . On information and belief, the
                   3               misappropriated confidential and proprietary information
                   4               taken from Mattel is being disclosed to and used by MGA
                   5               for the benefit of MGA and to the detriment of Mattel.16
                   6 A limitation preventing access to documents after 2005 would deny Mattel access to
                   7 documents proving these allegations.
                   8               For these reasons, Mattel respectfully requests that the Court reconsider
                   9 and modify its Order to extend the limited time period to include any time from
                  10 1999 through to the present.
                  11                                       Conclusion
                  12               For the foregoing reasons, Mattel respectfully requests that its motion
                  13 be granted in its entirety.
                  14
                  15 DATED: January 16, 2008              QUINN EMANUEL URQUHART OLIVER &
                                                          HEDGES, LLP
                  16
                  17
                                                           By /s/ Scott B. Kidman
                  18                                         Scott B. Kidman
                                                             Attorneys for Mattel, Inc.
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                         16
                              Second Amended Complaint and Counterclaims, ¶ 77, Kidman Dec., Exh. 3.
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